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lN THE UN|TED STATES DlSTRlCT COURT
FOR THE WESTERN DlSTFllC-l' OF TENNESSEE @5 litig "l Pi"’t 12 31
WESTERN DIV|SION
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UUFH

 
  

uNlTED sTATEs oF AMEnicA tila \_
Plaimiff

VS.
CFi. NO. 05-20236-B

B|LLY GENE W|LL|A|V|S,

Detendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 25, 2005. At that time, counsel tor the
defendant requested a continuance ot the August 1, 2005 trial date in order to allow tor
additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a

report date of Mondav. September 26. 2005. at 9:30 a.m., in Courtroom 1. 1 tth Floor

 

ot the Federa| Bui|ding, Memphis, TN.

The period from August 12, 2005 through October 14, 2005 is excludable under
18 U.S.C. § 31 61 (h)(B)(B)(iv) because the ends otjustice served in allowing for additional
time to prepare outweigh the need for a speMl.

lT IS SO ORDEFIED this f day Of'..+u-l-y, 2005.

(

J DA lEL. BREEN \
N|T D STATES D|STFt|CT JUDGE
This decent-ant en=.e.'ed on the -:)`oc.<et enact tel co.~;:pi:.unce

with Ru|e 55 and/or 32(!;\) FFiCrP on il ' 3" 05 @

   

UNITED sTATE D"ISIC COURT - WESTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:05-CR-20236 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

